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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA*
                        *
     Plaintiff          *
                        *
     vs.                *                            CRIMINAL NO. 00-851 (04)(SEC)
                        *
DAVID VAZQUEZ-RIOS      *
                        *
     Defendant          *
*************************

                                JUDGMENT OF DISCHARGE

       It appearing that defendant has been charged of the offenses of:

        MONEY LAUNDERING-CONTROLLED SUBSTANCE- IMPORT/EXPORT

All in violation of Title 18 United States Code, Section 1956-6802.

       It further appearing that defendant is now entitled to be discharged for the reason that:

       []   The Court has granted defendant’s Motion for Judgment of Acquittal,
            pursuant to Rule 20 (a) of the Federal Rules of Criminal Procedure;

       [X] The Court has granted defendant’s Motion for Dismissal without prejudice,
           pursuant to Rule 48 (a) of the Federal Rules of Criminal Procedure;

       []   The Court has entered a finding of Not Guilty after a Court trial and after
            execution by the defendant of a waiver of jury and its approval by the Court;

       []   The Court has entered an order dismissing the case against defendant due to
            defendant’s death.

       It is therefore ORDERED and ADJUDGED that defendant be, and is hereby

DISCHARGED.

       In San Juan, Puerto Rico, this 12th day of January 2007.

                                                       S/ Salvador E. Casellas
                                                     SALVADOR E. CASELLAS
                                                        U. S. District Judge
